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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
v.                                               § CASE NUMBER 1:21-CR-00068-TH
                                                 §
                                                 §
RION CARLOS                                      §
                                                 §


          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

         The court referred this matter to the Honorable Christine L. Stetson, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Stetson conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. Judge Stetson recommended that the

court accept the Defendant’s guilty plea. She further recommended that the court adjudge the

Defendant guilty on Count One of the Indictment filed against the Defendant.

         The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report.

         It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Rion Carlos, is adjudged guilty
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as to Count One of the Indictment charging a violation of 18 U.S.C. §§ 2252A(a)(l) and (b)(l) &

2 - Transportation of Child Pornography and Aiding and Abetting.

       .
        SIGNED this the 1 day of November, 2021.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge
